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 4                           UNITED STATES DISTRICT COURT
 5                        SOUTHERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,                          Case No.: 20-CR-3525-TWR
 7
 8                            Plaintiff,
                                                        JUDGMENT OF DISMISSAL
 9          V.
10
     JESUS CONTRERAS (2),
11
12                           Defendant.

13
           Upon application of the Acting United States Attorney, and good cause appearing
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     therefrom,
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           IT IS HEREBY ORDERED AND ADJUDGED that the Information in the above-
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     captioned case be dismissed without prejudice as to Defendant JESUS CONTRERAS.
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           IT IS FURTHER ORDERED that Defendant shall be released from custody in this
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     case, and that any future hearing date be vacated.
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20         DATED: May 12, 2021              - ~---=--
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21                                          THE HONORABLE TODD W. ROBINSON
                                            United States District Court Judge
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